                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


ANTHONY S. KIDD,                                        )
                                                        )
               Plaintiff,                               )
                                                        )
v.                                                      )   Case. No. 22-3123-JWL-JPO
                                                        )
JEREMY BAKER, et al.,                                   )
                                                        )
               Defendants.                              )
                                                        )

                  DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Defendants Jeremy Baker, Tyler Jones, Michael Falck, Jason Vsetecka, and (fnu) Simmons

(“Defendants”), through Assistant Attorney General Matthew L. Shoger, respectfully move this

Court for an order allowing an additional fourteen (14) days in which to file a response to

Plaintiff’s Motion to the Court to Provide Plaintiff with All Camera Videos (Doc. 21). In support

of the requested extension, the Defendants state the following:

       1. Currently, Defendants must respond by November 14, 2022.

       2. Defendants have not requested a previous extension of time as to this deadline.

       3. Defendants have not conferred with the Plaintiff in this matter.

       4. Good cause exists for the requested motion.

       5. This Motion is made in good faith and is not presented for the purpose of delay.

           Defendants require additional time to obtain a necessary declaration and other

           evidence. The extension is also requested due to the press of other business and the

           undersigned counsel’s previously scheduled obligations.

       WHEREFORE, for the reasons set forth above, Defendants request this Court enter an

Order granting an extension of time allowing fourteen days to respond to Plaintiff’s Motion to


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the Court to Provide Plaintiff with All Camera Videos, and any further relief this Court deems

just and proper.


                                            Respectfully Submitted,
                                            OFFICE OF ATTORNEY GENERAL
                                            DEREK SCHMIDT

                                            /s/ Matthew L. Shoger
                                            Matthew L. Shoger, KS No. 28151
                                            Assistant Attorney General
                                            120 SW 10th Avenue, 2nd Floor
                                            Topeka, Kansas 66612-1597
                                            matt.shoger@ag.ks.gov
                                            (785) 296-2215
                                            Fax: (785) 291-3767
                                            Attorney for Defendants




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of November, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to the following:

       Jon D. Graves
       Hutchinson Correctional Facility
       PO Box 1568
       Hutchinson, KS 67504-1568
       jon.graves@ks.gov
       Attorney for Hutchinson Correctional Facility, Interested Party

       Natasha M. Carter
       Kansas Department of Corrections
       714 SW Jackson Street, Suite 300
       Topeka, KS 66603
       natasha.carter@ks.gov
       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Anthony S. Kidd, #93399
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se


                                                             /s/ Matthew L. Shoger___________
                                                             Matthew L. Shoger
                                                             Assistant Attorney General




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